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   3
   4Entered on Docket
    August 10, 2022
___________________________________________________________________
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  16
  17 Attorneys for Christina W. Lovato, Chapter 7 Trustee
                              UNITED STATES BANKRUPTCY COURT
  18
                                       DISTRICT OF NEVADA
  19 In re
  20 DOUBLE JUMP, INC.                               Lead Case No.: BK-19-50102-gs
                                                     (Chapter 7)
  21            Debtor.
                                                     Substantively Consolidated with:
  22
  23                                                    19-50130-gs   DC Solar Solutions, Inc.
                                                        19-50131-gs   DC Solar Distribution, Inc.
  24                                                    19-50135-gs   DC Solar Freedom, Inc.
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     CHRISTINA W. LOVATO,                                    Adversary No.: 22-05001-gs
 1
                   Plaintiff,                             AGREED ORDER ESTABLISHING
 2
     v.                                                   DISCOVERY PLAN AND SCHEDULING
 3                                                        ORDER
   AHERN RENTALS, INC. and XTREME
 4 MANUFACTURING, LLC,
                                                          Hearing Date: N/A
 5                 Defendants.                            Hearing Time:
 6
 7
              The Court having reviewed the pleadings on file, having been apprised of the agreement
 8
     between Plaintiff, Christina W. Lovato, chapter 7 trustee (“Plaintiff”) and Defendants, Ahern
 9
     Rentals, Inc. and Xtreme Manufacturing, LLC (together, “Defendants”), having considered the
10
     presentations of counsel at the June 9, 2022 Status Conference, and for good cause appearing,
11
              IT IS ORDERED that the Court adopts the Scheduling Order, as follows:
12
              1.        Pre-Discovery Disclosures. The parties will exchange the information required by
13
     Fed. R. Civ. P. 26(a)(1) within 30 days of the date of this order.
14
              2.        Discovery Plan. The parties jointly propose to the court the following discovery
15
     plan:
16
                        a. Discovery will be needed on all matters within the scope of F.R.C.P. 26(b).
17
                        b. Fact discovery commenced in time to be completed by February 28, 2023.
18
                        c. Supplementations under Rule 26(e) due March 20, 2023.
19
                        d. All discovery shall be governed by the Federal Rules of Civil Procedure, as
20
                            made applicable by the Federal Rules of Bankruptcy Procedure.
21
                        e. Disclosure of expert testimony under Rule 26(a) due from Plaintiff and from
22
                            Defendants by March 27, 2023.
23
                        f. Expert discovery commenced in time to be completed by May 1, 2023.
24
              3. Other Items.
25
                        a. Plaintiff will be allowed until January 4, 2023 to join additional parties and
26
                            until January 4, 2023 to amend the pleadings.
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                    b. Defendants will be allowed until January 4, 2023 to join additional parties and
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                        until January 4, 2023 to amend the pleadings.
 2
                    c. The parties shall mediate by April 3, 2023.
 3
                    d. All potentially dispositive motions must be filed by May 18, 2023.
 4
                    e. The parties request a pretrial conference in June 2023.
 5
                    f. Final lists of witnesses and exhibits under Rule 26(a)(3) will be due from
 6
                        Plaintiff and from Defendants seven days prior to the pretrial conference.
 7
                    g. Parties shall have ten (10) days after service of final lists of witnesses and
 8
                        exhibits to list objections under Rule 26(a)(3).
 9
                    h. The case should be ready for trial by July 1, 2023 and at this time, the trial is
10
                        expected to take approximately three days.
11
                    i. The parties do not request a conference with the Court before entry of this
12
                        Order.
13
                    j. The parties request a status conference on August 11, 2022 and will endeavor
14
                        to schedule a status conference every 45 days thereafter.
15
                    k. This Order supersedes any prior scheduling order entered in this Adversary
16
                        Proceeding.
17
                    l. The Parties shall meet and confer if any other orders, statements, or directives
18
                        issued by the Court alter, affect, or relate to this Order.
19
                    m. All deadlines in this order are agreed to and entered subject to a motion to
20
                        modify such deadlines under the Federal Rules of Civil Procedure.
21
     Respectfully submitted by:
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     HARTMAN & HARTMAN
23
     /s/ Jeffrey L. Hartman
24   Jeffrey L. Hartman, Esq., Attorney for Plaintiff
25   MELAND BUDWICK, P.A.
26   /s/ Meaghan E. Murphy
     Alexander E. Brody, Esq., Attorney for Plaintiff
27
     /s/Mark J. Connot
28
     Mark J. Connot, Esq., Attorney for Defendants



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